        Case 1:18-cr-00101-PAC            Document 9            Filed 05/22/18    Page 1 of 1




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                                                          May 22,2018

Hon. Judge Paul A. Crotty
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

                                 Request for Adjournment
                       USA V. Casey Michael Antone, 18 Cr. 101(PAC)

Dear Judge Crotty,

        I respectfully request an adjournment of the court appearance scheduled for today at 3:45
p.m., until June 5, 2018 at a time convenient to the Court.

       I ask for this adjournment because I need to spend additional time with the defendant,
Mr. Antone, going through the discovery. While I received the discovery in mid-April, the
volume of the records and the failure of several of the computers in the counsel visit room at
MCC made it difficult to have a complete discussion about the evidence. On May 3, three days
before I left for vacation, I made a request to AUSA Jessica Greenwood to send a duplicate of
the non-confidential discovery to Mr. Antone so that he could review it on the working
computers in the MCC law library. I have just returned from my vacation. Now that he has
reviewed his copy, and I have printed out several of the critical spreadsheets, I hope to be able to
spend significant constructive time with him discussing the case.

       I have spoken to AUSA Greenwood, and she consents to the adjournment. I consent to
excluding this additional time for speedy trial purposes.

       Thank you for your consideration of this matter.

                                                           Sincerely,



                                                           Camille M. Abate


cc: Jessica Greenwood, Esq.(via BCF)
